
In re Dona, Grant M.D.; — Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Ouachita, 4th Judicial District Court, No. 35724-CW.
hPEB CURIAM.
These separate writ applications involve the common question of whether a defendant in a case pending in the medical review panel may compel the plaintiff to respond to interrogatories requesting information on the standard of care allegedly breached by the defendant. After reviewing the applications, we find further consideration of these cases are warranted in the court of appeal.
Accordingly, the writ applications are remanded to the court of appeal for its consideration. Upon remand, the court of appeal should render an opinion, after appropriate briefing and argument from the parties, which definitively sets forth the | ^position of the circuit on this issue. The court should also address the case of Solomon v. Medical Ctr., 97-0788 (La.App. 4 Cir. 5/14/97), 694 So.2d 1229, in its opinion.
KIMBALL, J., would deny the writ.
KNOLL, J., would deny the writ.
